WILLIAM E. MITCHELL, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Mitchell v. CommissionerDocket No. 85612.United States Board of Tax Appeals40 B.T.A. 424; 1939 BTA LEXIS 852; August 15, 1939, Promulgated *852  1.  Where petitioner omitted an item of income in 1925 and one in 1926 from his income tax returns for those years, overstated the costs of utility stocks sold in 1926, 1928, and 1929 by the use of a wrong basis of cost, and claimed a loss on the sale of certain stock in 1929 to which he was not entitled under section 118 of the Revenue Act of 1928, and the evidence shows that the errors committed were either mistakes of law or innocent mistakes of fact with no intention to evade tax, held, that for these named years petitioner did not file false or fraudulent returns with intent to evade tax.  2.  In 1930 petitioner sold a considerable number of shares of his utility stock and used as a cost basis in determining his gains from part of such sales the cost of the same block of stock which he had almost used up in 1928 and 1929, it being his highest cost stock, which cost basis petitioner knew he did not have the right to use for the second time, and such use for the second time was largely responsible for an understatement of income of $209,040.34.  Held, that the Commissioner has met his burden of proof to show that petitioner's income tax return for 1930 was false and fraudulent*853  with intent to evade tax.  W. A. Sutherland, Esq., Edward R. Kane, Esq., and Elbert P. Tuttle, Esq., for the petitioner.  Jonas M. Smith, Esq., for the respondent.  BLACK *425  BEFORE BLACK AND TURNER.  This proceeding involves the redetermination of deficiencies in income tax and penalties determined by the respondent against petitioner, as follows: YearDeficiencyPenalty1925$1,481.25$740.6319267,766.573,883.2919284,718.202,359.10192914,970.627,461.35193026,244.8213,122.41The first issue in this proceeding is whether petitioner's income tax returns for the above mentioned years were false or fraudulent with intent to evade tax.  Otherwise, there are no penalties and the deficiencies determined by the respondent are all barred by the statute of limitations.  The deficiencies determined by respondent are not contested if the Board should hold that the statute of limitations has not barred them.  The fraud penalties determined by the Commissioner are contested for all years.  FINDINGS OF FACT.  Petitioner is an individual, residing in Atlanta, Georgia.  During the taxable years in question*854  he was vice president in charge of operations of the Alabama Power Co., a subsidiary of the Alabama Traction Light &amp; Power Co., and later general manager of the Georgia Power Co.  Between 1920 and October 1924 petitioner purchased in 15 different lots 2,505 shares of Alabama Traction Light &amp; Power Co. utility stock (sometimes hereinafter referred to as Alabama) at a total cost of $74,210.63; and during this period he made 1 sale of 400 shares of the same stock at $11,775.  On October 10, 1924, pursuant to a reorganization, *426  petitioner exchanged 2,105 shares of Alabama utility stock for 4,210 shares of Southeastern Power &amp; Light Co. utility stock (sometimes hereinafter referred to as Southeastern).  Between October 10, 1924, and October 20, 1925, petitioner purchased in 6 different lots 820 shares of Southeastern utility stock at a total cost of $79,282.38; and during this period he made 2 sales of 300 shares of the same stock at $42,813.  On October 20, 1925, petitioner received a 400 percent stock dividend, which brought his holdings in this company up to 23,650 shares.  Between October 20, 1925, and March 30, 1929, petitioner purchased in 19 different lots 7,600*855  shares of Southeastern utility stock at a total cost of $260,769.23; and during this period he made 57 sales of 7,850 shares of the same stock at $322,923.  On March 30, 1929, petitioner received a one percent stock dividend, which brought his holdings in this company up to 23,634 shares.  Between March 30 and June 10, 1929, petitioner purchased in 2 different lots 560 shares of Southeastern utility stock at a total cost of $43,677.50; and during this period he made 4 sales of 400 shares of the same stock at $34,204.  On June 10, 1929, pursuant to a reorganization, petitioner exchanged 23,794 shares of Southeastern utility stock for 107,073 shares (4.5 shares for 1) of common stock and 53,536.5 option warrants (2.25 warrants for 1 share of stock) in the Commonwealth &amp; Southern Corporation (sometimes hereinafter referred to as Commonwealth).  The warrants were still owned at the end of the year 1930.  During the remainder of the year 1929 the following transactions occurred: DateTransactionShares of CommonwealthPurchase or sale priceBalance of shares owned6/10/29Balance107,0736/10/29Bought1,000$19,000.00108,0737/22/29Sold2,00057,807.50106,0738/1/29Stock dividend1,071107,1448/28/29Sold1,00023,710.00106,1449/3/29Stock dividend1,339107,4839/6/29Sold50011,562.50106,98310/30/29Bought1,00012,125.00107,98311/21/29Sold1,00013,835.00106,98312/2/29Stock dividend1,224.5108,207.512/30/29Sold2,00024,420.00106,207.5*856  During the calendar year 1930, petitioner purchased in 2 different lots 450 shares of Commonwealth utility stock at a total cost of $4,225; and during this year he made 35 sales of 25,400 shares of the same stock at $296,929.  Petitioner's Exhibit No. 6 shows in greater detail the above mentioned purchases, sales, reorganizations, and stock dividends in connection with the Alabama, Southeastern, and Commonwealth utility stocks, and it is incorporated in these findings by reference, with the *427  exception of the sale of 100 shares of Southeastern utility stock under date of July 13, 1925, and the sale of 200 shares of such stock under date of July 28, 1925.  Exhibit No. 6 shows the selling prices of these shares as $11,741 and $31,342.50, respectively, whereas the correct selling prices of these shares are $11,471 and $31,342, respectively.  During the taxable years involved petitioner reported sales of Southeastern and Commonwealth utility stocks, along with certain other transactions, in the manner set forth in the following paragraphs.  1925 and 1926 Returns.On March 15, 1926, petitioner filed an individual income tax return for the calendar year 1925, in which*857  he reported a net income of $18,000.81.  In this return petitioner failed to report as taxable net income profits on two sales of 300 shares of Southeastern utility stock in the amount of $14,075.50.  Petitioner and respondent agree that the correct net income for the year 1925 is, as determined by the respondent, the amount of $32,076.31.  At the time petitioner filed his return for 1925 he thought that it was correct and that it was an honest return.  He did not know that this item had been omitted.  On March 15, 1927, there was filed on behalf of petitioner a tentative income tax return for the calendar year 1926.  Petitioner was in Brazil, South America, during the first four months of 1927.  On May 14, 1927, petitioner filed a final return for the year 1926, in which he reported a net income of $4,402.78.  Petitioner and respondent agree that the correct net income for the year 1926 is, as determined by the respondent, the amount of $75,789.81.  The net understatement of income in the amount of $71,387.03 was caused by two items of understatement in the amounts of $70,182.53 and $1,702.50, respectively, and one item of overstatement in the amount of $498, under facts and circumstances*858  more fully set out below.  In this 1926 return petitioner failed to report as taxable net income profits on the sale of 500 option warrants of Southeastern Power &amp; Light Co. in the amount of $1,702.50; and also failed to claim a loss on an orange grove in the amount of $498.  In "Schedule C - Profit from Sale of Real Estate, Stocks, Bonds, Etc." of petitioner's 1926 return there was reported, among other items, the following: Kind of propertyDate acquiredAmount receivedCostNet profitSoutheastern P. &amp; L. stockVarious, 1925$88,360.00$97,740.70($9,380.70)*428  The above item purported to represent the net result of 25 sales during 1926 of 3,450 shares of Southeastern utility stock, and 1 sale of 2,000 Southeastern Power &amp; Light Co. debentures, tabulated in totals as follows: Kind of propertyAmount receivedCostNet profit3,450 shares stock$86,524.00$95,806.70($9,282.70)2,000 shares debentures1,836.001,934.00(98.00)88,360.0097,740.70(9,380.70)There was no sale of debentures.  Petitioner and respondent agree that the correct net result of the 25 sales of stock was as follows: Kind of propertyAmount receivedCostNet profit3,450 shares stock$86,524.00$25,722.17$60,801.83*859  Based upon the above agreement, petitioner in his return overstated his cost by $72,018.53, and understated his net profit by $70,182.53.  Prior to the time petitioner's final return for 1926 was filed, John P. Maguire, an employee of Alabama and Southeastern, prepared for petitioner a work sheet, the purpose of which was to determine the net profit or loss on the 25 sales of 3,450 shares of Southeastern utility stock and the one mistaken sale of 2,000 shares of debentures during 1926.  Maguire was asked to prepare this work sheet on account of some income tax experience he had had in the past few years.  Petitioner gave Maguire all of the papers he had which contained information concerning the shares that were sold.  From this information Maguire prepared a schedule consisting of 15 columns showing in detail with respect to each sale (1) the date of sale, (2) name of the broker through whom the sale was made, (3) kind of property sold, (4) number of shares sold, (5) selling price per share, (6) gross proceeds, (7) selling commission, (8) sales tax, (9) net proceeds, (10) petitioner's purchase price per share, (11) petitioner's purchase price for all the shares involved in*860  the particular sale, (12) purchase commission, (13) tax at time of purchase, (14) petitioner's total cost or basis for all the shares involved in the particular sale, and (15) the net profit or loss on each sale.  The selling commission and sales tax were deducted from the gross proceeds in arriving at the net proceeds.  Petitioner's total cost as shown in column 14 was the sum of the amounts shown in columns 11, 12, and 13.  The net profit or loss on each sale, as determined by Maguire, was the difference between the net proceeds and the total cost.  In this manner *429  Maguire determined that on 10 of the sales of stock petitioner had net losses of $16,033; that on 15 of the sales of stock petitioner had net profits of $6,750.30; that on the one mistaken sale of debentures petitioner had a net loss of $98; and that the net result was a net loss of $9,380.70, which amount petitioner reported as above stated.  At the time Maguire prepared this work sheet he thought it was correct and in accordance with the facts and law involving the sales there in question.  After Maguire had completed the work sheet showing a net loss of $9,380.70, petitioner turned this information and*861  all the other data necessary to prepare petitioner's 1926 return over to P. H. Nabors, an employee in petitioner's office, and instructed Nabors to complete the final 1926 return for petitioner's signature and filing.  Nabors finished preparing petitioner's final 1926 return and completely prepared all of petitioner's returns for all the following years through either 1934 or 1935.  The year 1927 is not before us.  The Commissioner determined a small overassessment for that year.  1928 and 1929 Returns.On March 15, 1929, petitioner filed an individual income tax return for the calendar year 1928, in which he reported a net income of $58,484.16.  Petitioner and respondent agree that the correct net income for the year 1928 is, as determined by the respondent, the amount of $100,454.80.  The understatement of $41,970.64 occurred in schedule C of the return, wherein there was reported the following: Kind of propertyDate acquiredAmount receivedCostNet profitSoutheastern Power &amp; Light Co. Voting Trust Certificates.1927 and 1928$92,655.74$64,796.89$27,858.85The above item purported to represent the net result of 10 sales by petitioner*862  during 1928 of 1,700 shares of Southeastern utility stock.  Petitioner and respondent agree that the correct amount received was $92,412, that the correct cost was $22,582.51, and that the correct net profit was $69,829.49.  Based upon this agreement, petitioner in his return overstated the amount received by $243.74, overstated his cost by $42,214.38, and understated his net profit by $41,970.64.  At the time Nabors prepared the 1928 return, he prepared in his own handwriting a memorandum of the details showing how he arrived at the above reported amounts.  The entire memorandum is as follows: Memorandum for record only: On December 1, 1927, Mr. Mitchell gave Southeastern Securities Company a note for $159,333.74 (with interest at 6%) covering purchase of 4,667 shares of *430  SEP &amp; L Co voting trust certificates.  On March 1, 1928, he gave them a note for $13,731.00 (with interest at 6%) covering purchase price of 333 shares of voting trust certificates.  Interest has been paid on these notes as follows Feb. 6, 1928$796.67May 17, 19283,186.64137.30July 25, 19282,389.00205.95Dec. 25, 19283,983.33343.28Total interest11,042.17Principal$173,064.74Making cost of stock184,106.91or per share36.82*863  [Signed] P. H. NABORS Sale of stock during year 1928 For Record Only. Sold forCostProfitApr 13 16 Burnham Herman sold 600 shares28,386300 v t c13,248.8930011,046.00May 100 v t c5,728.503,6821005,728.503,682Nov 20 40022,749.9414,728Dec 12 20011,657.007,36417 1006,2913,68214 1005,686.303,68219 1006,428.503,682Total SEP &amp; L Co92,655.7464,796.8927,858.85The first 300 shares in the above schedule showing a cost of $13,248.89 were attributed to purchases other than the 5,000 shares referred to in Nabors' memorandum.  On March 15, 1930, petitioner filed an individual income tax return for the calendar year 1929, in which he reported a net income of $112,871.71.  Petitioner and respondent agree that the correct net income for the year 1929 is, as determined by the respondent, the amount of $232,562.45.  The net understatement of income in the return of $119,690.74 was, under facts and circumstances more fully set out below, caused by overstating profit from sales of certain Electric Power &amp; Light Co. stock in the amount of $337.50; by understating profit from the sales of certain Southeastern*864  and Commonwealth *431  utility stocks in the total amount of $50,907.41; and by claiming a certain loss in the amount of $69,120 in connection with 2,000 shares of Atlantic Ice &amp; Coal Co. (sometimes hereinafter referred to as Atlantic) stock, to which petitioner was not entitled under section 118 of the Revenue Act of 1928.  The amounts mentioned in these three causes for net understatement leave a discrepancy of 83 cents, which is due to the respondent determining in his deficiency notice that petitioner's profit from the Southeastern and Commonwealth sales was $204,679.49, whereas he now alleges that it was $204,678.66, and petitioner has agreed with both the determination and the allegation.  Atlantic Stock.In schedule C of his 1929 return petitioner claimed, among other items, a loss of $69,120 from the sale of 2,000 shares of Atlantic stock, which item was reported on a "rider" to his return.  During February 1929 petitioner purchased 2,200 shares of Atlantic common stock at approximately $54.64 per share.  By fall of that year this stock had greatly depreciated and on November 25, 1929, petitioner approached one R. W. Courts, Jr., and stated that he would like*865  to sell the Atlantic stock to Courts &amp; Co. in order to establish a loss for tax purposes.  Courts &amp; Co. was a brokerage firm in Atlanta, Georgia, and petitioner was a good customer of that firm.  Courts had a personal interest in petitioner's connection with the Atlantic Co., having previously tried to get petitioner to accept the presidency of that company.  When petitioner proposed to sell the Atlantic stock to Courts &amp; Co. on November 25, 1929, petitioner stated to Courts at that time that he did not want to give up permanently his investment in the Atlantic stock, since he believed in the future of the Atlantic Co., and that he therefore intended to rebuy a similar amount of Atlantic stock after the tax loss had been established.  Petitioner further stated to Courts on November 25, 1929, that he believed he would be able to rebuy Atlantic stock at a cheaper price after the tax loss had been established.  Courts also believed on November 25, 1929, that petitioner would be able to buy Atlantic stock at a cheaper price after the tax loss had been established.  On November 25, 1929, in reply to petitioner's offer of sale, Courts stated that his firm did not want to buy that much*866  Atlantic stock unless they were protected against loss.  Petitioner thereupon agreed orally on November 25, 1929, to protect Courts &amp; Co. against loss on the transaction.  On November 25, 1929, Courts &amp; Co. bought from petitioner 2,000 shares of Atlantic common stock at $20 per share.  The stock was *432  delivered to Courts &amp; Co. and petitioner's account with that company was credited with $40,000.  On the same date Courts told one W. F. Broadwell, an employee of Courts &amp; Co. that Courts &amp; Co. had bought the stock and instructed Broadwell to make the customary entries regarding such purchase.  Pursuant to the instructions from Courts, Broadwell on November 25, 1929, entered the purchase on the records of Courts &amp; Co. and on that date wrote petitioner a letter confirming such purchase, the text of which reads as follows: In accordance with your instructions, we confirm purchase from you of 2,000 Shares Atlantic Ice &amp; Coal Co. Common at 20 and enclose herewith invoice to cover.  Between November 25, and December 10 or 12, 1929, Courts attempted to sell the Atlantic stock on the open market, but was not successful in doing so.  On or about December 10 or 12, 1929, Courts*867  learned that certain transactions might be consummated between the Atlantic Co. and the Penn Gas Co. which might improve the market value of the Atlantic stock.  Upon receipt of that information Courts called petitioner and told him that if the Penn Gas Co. transaction should be consummated petitioner might not be able to buy Atlantic stock on the open market except at a high price, and in fact might not be able to buy Atlantic stock at all; and Courts therefore suggested that petitioner should agree to buy back the Atlantic stock which Courts &amp; Co. had purchased from petitioner on November 25, 1929.  In accordance with this suggestion petitioner agreed on December 12, 1929, to repurchase from Courts &amp; Co. on January 3, 1930, the Atlantic stock which Courts &amp; Co. had purchased from petitioner on November 25, 1929, and a written agreement to such effect was entered into as follows: For and in consideration of $10.00 paid by the parties of this agreement, each to the other, receipt of which is acknowledged by both parties, and other valuable considerations, Wm. E. Mitchell, party of the first part, agrees to purchase from Courts &amp; Co., party of the second part, and party of the second*868  part agrees to sell to party of the first part 2,000 Shares Atlantic Ice &amp; Coal Co. Common at $20.00 per share, on January 3, 1930.  Signed in duplicate.  [Signed] W. E. MITCHELL [Signed] COURTS &amp; Co., By W. F. BROADWELL Date 12/12/1929 Pursuant to this repurchase agreement, petitioner repurchased from Courts &amp; Co. on January 3, 1930, the Atlantic stock which petioner had sold to Courts &amp; Co. on November 25, 1929, and on January *433  3, 1930, Broadwell entered the sale to petitioner on the records of Courts &amp; Co. and on the same date wrote petitioner a letter confirming such sale, the text of which reads as follows: "In accordance with your instructions, we confirm sale to you of 2,000 Shares Atlantic Ice &amp; Coal Co. Common at 20 and enclose herewith invoice to cover." Petitioner's account with Courts &amp; Co. was charged with the purchase price of the Atlantic stock sold to petitioner on January 3, 1930.  The Atlantic stock was not transferred out of petitioner's name on the books of the Atlantic Co. because such stock was not paying dividends and it was not the custom of Courts &amp; Co. to have the name changed on stock which they bought unless the stock was paying*869  dividends.  Stock powers from Mitchell to Courts &amp; Co., accompanied by the shares of Atlantic stock involved, were transmitted by Mitchell to Courts &amp; Co. on December 18, 1929, with a letter from Mitchell reading as follows (omitting formal parts): As requested in your letter of December 17, I am returning herewith 20 stock powers which I have signed, together with 20 Atlantic Ice and Coal Company Common Stock Certificates, Nos. C-1287-1290 inclusive, 100 shares each, and Nos. C-1380-1395 inclusive, 100 shares each.  On or about May 25, 1931, petitioner received a letter signed by the collector of internal revenue for the district of Georgia advising petitioner that "An audit of your income tax return for the calendar year 1929 by the Commissioner of Internal Revenue discloses an overassessment in the amount of $47.92." The sole reason for this overassessment was due to the Commissioner's determination at that time that petitioner had understated by $160 his loss from the sale of 2,000 shares of Atlantic stock, and in a schedule attached to the certificate of overassessment the Commissioner explained this understatement of loss as follows: Reduction of Income:(a) Profit from sales of real estate, stocks, bonds, etc.$160.00Taxpayer sold 2,000 shares of stock of Atlantic Ice and Coal Company on December 7, 1929, on which the loss is computed as follows:Bought February 18, 1929, 2,200 shares for total cost of $120,211.00, or $54.64 per share.Sold 2,000 shares, cost at $54.64 per share109,280.00Amount received at sale40,000.00Loss69,280.00Loss claimed on return69,120.00Additional loss allowed as above160.00*870 *434  The sale of the Atlantic stock on November 25, 1929, was the only sale of securities which petitioner ever made for the purpose of taking a tax loss.  When an internal revenue agent in the year 1931 interviewed the petitioner with reference to his 1929 return he was shown a sales slip from Courts &amp; Co. showing the sale by Mitchell to Courts &amp; Co. of 2,000 shares of Atlantic Ice &amp; Coal Co. common stock for a total sum of $40,000.  The revenue agent was not shown a sales slip which petitioner then had in his files dated January 3, 1930, showing a repurchase by petitioner from Courts &amp; Co. of 2,000 shares of Atlantic stock nor was the revenue agent shown the repurchase agreement entered into between petitioner and Courts &amp; Co. dated December 12, 1929, which provided that petitioner would repurchase said stock on January 3, 1930.  Petitioner did not know when he filed his 1929 return that the execution of the repurchase agreement on December 12, 1929, which was 17 days after the sale by petitioner on November 25, 1929, rendered the Atlantic stock loss nondeductible under the 30-day rule, but believed in good faith that he was entitled to claim such loss on his return. *871  The respondent in his notice of deficiency from which this proceeding was taken has determined that petitioner is not entitled to any loss in connection with the item of $69,120 reported in schedule C of his 1929 return, and petitioner now agrees that he is not so entitled.  Basis of Cost of Shares of Stock Used in 1929 Return.In "Schedule D - Capital Net Gain or Loss From Sale of Assets Held More than Two Years" of petitioner's 1929 return there was reported an item as follows: Kind of propertyDate acquiredDate soldAmount receivedCostNet gain or lossSoutheastern Power &amp; Light Co. - Common Stock.Various, 19261929$123,258.75$55,230.00$68,028.75The above item reported in schedule D purported to represent the net result of 13 sales by petitioner between February 14 and May 10, 1929, of 1,500 shares of Southeastern utility stock.  There were only 12 sales of 1,400 shares.  Also, in schedule C of his 1929 return petitioner reported a profit of $85,742.50 from 5 sales of 6,500 shares of Commonwealth utility stock, which item was reported on a "rider" to his return as follows: SharesCostSoldProfitCOMMONWEALTH &amp; SOUTHERN CORP. - Common19299/6Burnham-Herman &amp; Co500$11,480.007/22Courts &amp; Company50014,467.50Courts &amp; Company50014,467.50Courts &amp; Company50014,467.50Courts &amp; Company50014,405.008/28Courts &amp; Company1,00023,710.0012/31Courts &amp; Company2,00024,420.00at $6.075,500$33,385.00117,417.5011/22Courts &amp; Company1,00012,125.0013,835.006,500$45,510.00$131,252.50$85,742.50*872 *435  Petitioner and respondent agree that the correct amount received was $247,524 instead of the $254,511.25 ($123,258.75 and $131,252.50) reported, that the correct cost was $42,845.34 instead of the $100,740 ($55,230 and $45,510) reported; and that the correct net profit was $204,678.66 instead of the $153,771.25 ($68,028.75 and $85,742.50) reported.  Based upon this agreement, petitioner in his return overstated the amount received by $6,987.25, overstated his cost by $57,894.66, and understated his net profit by $50,907.41.  Nabors arrived at the cost of $55,230 of the 1,500 shares reported in schedule D of the 1929 return on exactly the same basis as he used for the last 1,400 of the 1,700 shares reported in schedule C of the 1928 return, which was $36.82 per share.  At the time of the reorganization which occurred on June 10, 1929, Nabors considered that he had used up the basis of 2,900 shares of the 4,667 and 333 shares for which notes were given on December 1, 1927, and March 1, 1928, respectively.  These 5,000 shares are sometimes hereinafter referred to as the 5,000-share lot.  This left 2,100 shares having a basis as determined by Nabors of $77,328.91.  Nabors*873  considered that in the reorganization petitioner received, in place of his 2,100 shares of Southeastern utility stock, 9,450 shares (4.5 for 1) of Commonwealth utility stock and 4,725 (2.25 for 1) of Commonwealth option warrants.  On the basis of $8 for the warrants and $23 for the stock, Nabors determined that the basis of the 2,100 shares, in the amount of $77,328.91, should be allocated $57,373.06 (23/31 of $77,328.91) to the 9,450 shares of Commonwealth utility stock, and $19,955.85 (8/31 of $77,328.91) to the 4,725 Commonwealth option warrants, or a per share basis for the stock of $6.07 and a per warrant basis for the warrants of $4.22.  Nabors arrived at the cost of $45,510 of the 6,500 shares reported in schedule C of the 1929 return by attributing to the basis of 5,500 *436  shares the per share basis of $6.07 arrived at in the manner described in the immediately preceding paragraph, which amounted to $33,385, and by attributing to the basis of 1,000 shares the amount of $12,125 taken from a lot other than the 5,000 share lot.  This left according to Nabors' figures 3,950 shares of the Commonwealth stock (877 7/9 shares of Southeastern before the conversion), not used*874  up during 1929.  1930 Return.On March 15, 1931, petitioner filed an individual income tax return for the calendar year 1930, in which he reported a net income of $110,742.13.  Petitioner and respondent agree that the correct net income for the year 1930 is, as determined by the respondent, the amount of $319,107.47.  The net understatement of income in the return of $208,365.34 was caused by overstating income in the amount of $675 from the sale of Electric Power &amp; Light securities, and by understating income in the amount of $209,040.34 from 35 sales of 25,400 shares of Commonwealth utility stock under facts and circumstances more fully set out below.  Under schedules C and D of petitioner's 1930 return, petitioner reported a total net profit of $76,147.69 from 35 sales of 25,400 shares of Commonwealth utility stock, as follows: Kind of PropertyDate AcquiredDate SoldAmount RealizedCostNet GainSchedule CCommonwealth and Southern Corporation - Common.June-July 1929$62,147.00$57,601.99$4,545.01Schedule Da Commonwealth and Southern Corporation - Common.1923, 1924Various234,781.50163,178.8271,602.68$296,928.50$220,780.81$76,147.69*875 Petitioner and respondent agree that the correct amount realized was $296,929, that the correct cost was $11,740.97, and that the correct net gain was $285,188.03.  Based upon this agreement, petitioner in his return understated the amount received by 50 cents, overstated his cost by $209,039.84, and understated his net gain by $209,040.34.  The amounts reported in schedule C (1930 return) purported to represent the net result of sales of 3,350 shares, and the amounts reported in schedule D purported to represent the net result of sales of 22,050 shares.  At the time Nabors prepared the 1930 return on or about March 13, 1931, he prepared certain work sheets marked "For record only - not to be filed with return." These work sheets show that the amounts *437  reported in schedule C represented three different lots of stock acquired by petitioner during June and July 1930, as follows: LotSharesCostSold forNet gainA1,350$25,885.71$22,977($2,908.71)B1,00016,876.2819,3352,458.72C1,00014,840.0019,8354,995.00Total3,35057,601.9962,1474,545.01*876  The basis used by Nabors in schedule D (1930 return) of $163,178.82 represented in large part the use by Nabors for a second time of a part of the cost of the 5,000-share lot.  Nabors' work sheets show that the cost used by him of $163,178.82 for the 22,050 shares was on a basis of $7.4004 per share, which was determined by Nabors in his work sheets as follows: 22,050 Shares of stock that was acquired in 1929 thru the exchange (4.5/1) of S.E.P. &amp; L. Co. Common.  This S.E.P. &amp; L. stock (5,000 shares) was purchased for account of W. E. Mitchell by Southeastern Securities Company in 1927 at a total cost of $197,430.73.  The average cost per share of the C. &amp; S. Corp. common is calculated as follows: $197,430.73 X .843814= $7.40045000 X 4.5This 22050 shares was sold by Courts &amp; Company (11,150) and Tucker, Anthony Company (10900 shares) at various dates throughout the year for $234,781.50.  There remained on hand at 12/31/30 450 shares of stock obtained as above at a cost of $7.4004 per share.  In making the above computation Nabors increased the cost of the 5,000 shares referred to therein from $184,106.91 as shown in his "Memorandum for record only" used in the preparation*877  of petitioner's 1928 return, to $197,430.73.  The factor of .843814 represented the percentage of the $197,430.73. to be allocated to the Commonwealth utility stock, leaving the balance of .156186 to be allocated to the Commonwealth option warrants.  1931, 1932, and 1933 Returns.Nabors, in preparing petitioner's income tax return for the year 1931, reported in schedule C thereof a loss of $7,344.43 from sales during the year of 60,450 shares of Commonwealth utility stock, reporting the amount realized as $360,185.75 and the cost as $367,530.18.  The cost used by Nabors was at the rate of $7.4004 per share as to 450 shares and $6.07 per share as to 60,000 shares.  The use of the rate of $7.4004 agreed with the last statement contained in Nabors' work sheet made out at or about the time he prepared the 1930 return.  The rate of $6.07 was the same rate that was used for 5,500 shares in schedule C of the 1929 return.  *438  Petitioner and respondent agree that during the year 1931 petitioner in 139 sales sold 61,450 shares of Commonwealth utility stock, that the correct amount received was $373,261.75, that the correct cost was $179,071.90, and that the correct profit*878  therefrom was $194,189.85.  Nabors in preparing the 1931 return also reported in schedule C thereof a loss of $23,480.82 from sales during the year of 38,200 Commonwealth option warrants, reporting the amount realized as $23,365.75 and the cost as $46,846.57.  Petitioner and respondent agree that the correct amount realized was $23,565.75, that the correct cost was $22,838.17, and that the correct net profit was $727.58.  Based upon the agreements between petitioner and respondent, petitioner in his return for 1931 understated his profit from the sale of Commonwealth utility stock and option warrants in the total amount of $225,742.68.  In the same notice of deficiency from which this proceeding was taken the respondent also determined a deficiency against petitioner for the year 1931 in the amount of $24,984.75 and a 50 percent fraud penalty of $12,492.38.  As to this one year petitioner paid the deficiency and penalty and then brought suit for recovery thereof in the District Court of the United States for the Middle District of Georgia, Columbus Division.  On March 30, 1938, the court handed down its findings of fact and conclusions of law, in which it found as a fact that*879  "Plaintiff's understatement in his income tax return for 1931 was not due to fraud with intent to evade the tax." Nabors, in preparing petitioner's income tax return for the year 1932, reported in schedule D thereof a net loss of $15,719.50 from sales during the year of 5,200 shares of Commonwealth utility stock, reporting the amount realized as $15,844.50 and the cost as $31,564.  The cost used by Nabors was at the rate of $6.07 per share, which was the same rate that was used for 5,500 shares in schedule C of the 1929 return.  Nabors, in preparing petitioner's income tax return for the year 1933, reported in schedule C thereof a net loss of $3,414.20 from sales during the year of 3,600 shares of Commonwealth utility stock, reporting the amount received as $18,437.80 and the cost as $21,852.  The cost used by Nabors was at the rate of $6.07 per share, which was the same rate that was used for 5,500 shares in schedule C of the 1929 return.  In using $6.07 in 1931, 1932, and 1933, Nabors did so in the belief that $6.07 was the average cost of all of petitioner's remaining utility stock and Nabors had forgotten at that time the origin of the figure of $6.07 and did not associate*880  it in any way with any particular block of stock.  The erroneous use of $6.07 in 1932 and 1933 did not result in any understatement of tax for those years.  *439  OTHER FINDINGS.  In the same notice of deficiency from which this proceeding was taken the respondent also determined that petitioner had overstated his tax liability for the year 1927 and that the resulting overassessment of $12.11 was barred by the statute of limitations.  In his return for this year petitioner reported a profit of $4,279.50 from the sales of Southeastern utility stock.  On these sales he reported the amount received as $44,809.50 and the cost as $40,530.  The respondent determined that the correct amount received was $62,002, that the correct cost was $58,830, and that the correct net profit was $3,172.  There were 14 sales of 1,700 shares.  A summary of the cost of the utility stocks and option warrants deducted by petitioner on his returns for the years 1925 through 1931 and a summary of the cost as now agreed upon by petitioner and respondent show $938,965.15 as the total cost deducted and $392,368.56 as the total cost now agreed upon by the parties.  Petitioner kept no regular set of*881  books.  Prior to about 1933 petitioner's returns for the years in question were examined from time to time by revenue agents and, with the exception of the above mentioned refund of $47.92 for the year 1929, after conferences with petitioner, were accepted as being correct.  These examinations were superficial and under the then procedure of the Treasury were called surveys as distinguished from complete audits.  The revenue agents who made surveys of petitioner's income tax returns as above stated were given everything that they asked to see.  The use of the erroneous cost of utility stocks was not discovered by the revenue agents until about 1933 or 1934, when the investigation of the 1931 return was begun.  Such investigation was made principally by Revenue Agent E. S. Baker and was in the nature of a complete audit of petitioner's income tax returns from 1925 through 1933.  After Baker had spent a number of months in determining petitioner's correct profit from the sale of utility stocks, Edward R. Kane, one of petitioner's attorneys, spent over three months in 1935 making a redetermination of such profit, and discovered that Baker's figures were in error as to the correct*882  profit by amounts approximately as follows: 1926$15,00019273,00019283,00019296,000193030,000193134,000With only minor changes the figures as redetermined by Kane were accepted by respondent as correct and were made the basis of the *440  deficiency notice from which this proceeding was taken.  Kane in making his redetermination accepted Baker's theory as to the effect of the two reorganizations and five stock dividends on the remaining cost basis of the several lots of stock unused at the time of the reorganization or stock dividend, respectively.  Nabors had full access to all of petitioner's files and records not only at the time of preparing the returns, but also at all other times.  His education had been limited to the sixth grade in grammar school, but subsequent thereto he had done a considerable amount of clerical, stenographic, secretarial, and personnel work.  He had had very little experience with actual accounting work.  His official duties with the Alabama Power Co., beginning in 1921, and the Georgia Power Co. had brought him in close personal contact with the petitioner for a number of years, and petitioner had found Nabors*883  to be a satisfactory employee in the performance of such official duties.  In addition, Nabors had handled a number of personal matters for petitioner.  When petitioner was in Brazil for four months in 1927 he gave Nabors full power of attorney without bond and left him in full charge of his family and all other personal matters.  Petitioner always had and still has full confidence in Nabors' integrity and character.  At the time Nabors prepared petitioner's 1928, 1929, and 1930 returns, neither he nor petitioner had ever heard of the first in, first out rule, and they first learned of that rule in 1933 or 1934, when petitioner's 1931 return was being investigated by the revenue agents.  Nabors did not know that in order to avoid the application of the first in, first out rule it was necessary to identify the stock that was sold.  Nabors thought and so did petitioner that one could attribute a sale of stock to any purchase which had been made without regard to what certificate was delivered at the time of sale.  Under Nabors' theory he was free to attribute sales to the purchases which had the highest cost, and during the years in question this was the general practice which he followed. *884  Petitioner knew that Nabors was following the theory that a sale could be attributed to the highest cost stock remaining unused regardless of what certificates were delivered and believed that such theory was correct.  Both Nabors and petitioner knew that petitioner did not have the right to use the cost of a particular block of stock twice.  Before signing the returns petitioner would go over the completed returns in a general way with Nabors, but he never checked the clerical computations and details which had been computed by Nabors.  When petitioner's 1929, 1930, and 1931 returns were filed, petitioner's estate was shrinking rapidly.  In 1925 petitioner's net worth, *441  figured on the basis of the market value of property which he owned, was approximately three-quarters of a million dollars.  In the summer of 1929 petitioner's net worth figured on the same basis was approximately three million dollars.  During 1930 and 1931 petitioner's net worth figured on the same basis decreased to approximately one hundred thousand dollars.  Petitioner's income tax returns filed for the years 1925, 1926, 1928, and 1929 were not false or fraudulent with intent to evade tax, and*885  the statute of limitations has barred the deficiencies determined by the Commissioner for those years.  Petitioner's income tax return for the year 1930 was false and fraudulent, with intent to evade tax and part of the deficiency for that year is due to fraud with intent to evade tax.  OPINION.  BLACK: The first issue in this proceeding is whether petitioner's income tax returns for the years in question were false or fraudulent with intent to evade tax.  The deficiencies determined by the respondent and the 50 percent additions thereto which were added under the provisions of section 275(b) of the Revenue Acts of 1924 and 1926 and section 293(b) of the Revenue Act of 1928 are barred by section 277 of the Revenue Acts of 1924 and 1926 and section 275 of the Revenue Act of 1928, respectively, unless under section 278(a) of the 1924 and 1926 Acts and section 276(a) of the 1928 Act the returns filed by petitioner were, respectively, false or fraudulent with intent to evade tax.  "Fraud is a fact to be proven by clear and convincing evidence." *886 . Congress in section 601 of the Revenue Act of 1928 has placed the burden of proof in respect of this issue upon the respondent.  The respondent in support of his contention that he has met the burden relies primarily upon the alleged establishment of three fraudulent acts, namely, (1) the omission from income in 1925 of a profit of $14,075.50 from two sales of 300 shares of Southeastern utility stock, and the omission from income in 1926 of a profit of $1,702.50 from the sale of Southeastern option warrants, (2) the erroneous deduction taken by petitioner in his 1929 return of a loss of $69,120 from the sale of 2,000 shares of Atlantic stock, and (3) the overstatement by petitioner in his returns of the cost of Southeastern and Commonwealth utility stocks in the amounts of $72,018.53 for 1926, $42,214.38 for 1928, $57,894.66 for 1929, and $209,039.84 for 1930.  Petitioner admits that the above errors were made, but denies that they were knowingly made or were made with any *442  intention of evading tax.  We shall consider the three alleged acts of fraud in the order given.  (1) Regarding the first act, the respondent*887  argues that petitioner's failure to report the items of $14,075.50 for 1925 and $7,702.50 for 1926 when he had all the information available in his personal files, with no explanation as to how the amounts were omitted, is prima facie evidence of fraud.  The facts with reference to the preparation of petitioner's 1925 and 1926 returns have been fully stated in our findings of fact and will not be repeated in any great detail here.  A summary of petitioner's testimony relative to the $14,075.50 item is that he could not now explain why this item was omitted from his 1925 return; that certain statements relative to the item were received by petitioner from Steiner, Rouse &amp; Strock (stock brokers); that these statements were available when his return for 1925 was made up; that he did not personally make up the return; that "we honestly intended to report everything and to make honest returns"; and that if the return had not been honest, he would not have signed it.  The only evidence offered by the respondent as to the $1,702.50 item was a supplemental protest sworn to by petitioner and filed with the respondent in 1935, in which petitioner says that the amount "was inadvertently omitted*888  by Taxpayer's attorneys in computing the tax for the year 1926 as shown in Taxpayer's original protest dated September 9, 1935." During the years 1925 through 1930 petitioner, in addition to the three above sales, made 87 sales of 38,450 shares of Southeastern and Commonwealth utility stocks at a total correct selling price of $723,389.  On these sales petitioner reported the selling price or amount received as $732,455.49, or $9,066.49 in excess of the correct amount.  The fact that these 87 sales were included in petitioner's returns is persuasive evidence that petitioner was not intentionally omitting any sales from his returns.  The profit from the three sales that were omitted in 1925 and 1926 amounted to approximately 2.48 percent of the total profit as determined by the respondent and agreed to by petitioner on the 90 sales that were made during the years now before us.  The respondent determined the profit on the two sales of 300 shares of Southeastern utility stock omitted from the 1925 return as follows: Date of saleNumber of sharesSelling priceCost basisNet profitHow basis determined7/13/25100$11,471$400.00$11,071.00First in, first out.7/28/2520031,34228,337.503,004.50Identified.30042,81328,737.5014,075.50*889 *443  The sale of the 200 shares on July 28, 1925, was identified with lots Nos. 19 and 21, which were purchased on July 13 and July 28, 1925, respectively.  The sale of the 100 shares on July 13, 1925, could not be identified and as to those shares the respondent applied the first in, first out rule and arrived at the cost of $400 for lot No. 2, which was purchased in the year 1922.  Counsel for petitioner points out in his brief that on July 13, 1925, petitioner purchased 100 shares of Southeastern utility stock (lot No. 18) for $10,575, and on the same day sold 100 shares for $11,471, so that from a realistic standpoint he made only $896 on that day from dealings in this stock, whereas, under the respondent's application of the first in, first out rule, since the shares sold were not identified with any particular lot, his profit on these shares has been determined to be $11,071.  Petitioner never heard of the first in, first out rule until about 1933 or 1934, and be kept no regular set of books.  We think the circumstances described above make it reasonable to believe that petitioner was telling the truth when he said he honestly intended to report everything in these*890  two returns for 1925 and 1926.  We think the Commissioner has not established that the two omissions in question were fraudulently made with intent to evade tax.  (2) The second alleged act of fraud is the erroneous deduction of $69,120 taken by petitioner in his 1929 return upon the sale of the 2,000 shares of Atlantic Ice &amp; Coal Co. stock.  The respondent contends, very much as he did in , that there was no bona fide sale to Courts &amp; Co. and that therefore in claiming a loss petitioner was committing fraud on the Government.  We think the evidence establishes that there was a bona fide sale of the stock on November 25, 1929.  The reason why the loss claimed is not deductible is on account of the agreement to repurchase on January 3, 1930, entered into between petitioner and Courts &amp; Co. on December 12, 1929, or 17 days after the sale.  Section 118 of the Revenue Act of 1928 1 provides that if anyone "has entered into a contract * * * to acquire substantially identical property" no deduction for the loss shall be allowed.  Petitioner's explanation *444  is that he did not know of this provision of the law and that*891  he thought that if he sold the stock and waited more than 30 days to repurchase it, he would be entitled to the deduction.  S. H. Rogers was the revenue agent who on March 31, 1931, made*892  the first examination of petitioner's return for 1929.  Rogers was an experienced revenue agent, having been in the service since about the year 1921.  He testified that his was a very brief examination; that he talked with petitioner; that he did not remember having talked with him about the Atlantic stock loss, except to explain to him that he was entitled to a greater loss than he had taken; that he remembered having seen the invoice slip showing the sale of the Atlantic stock to Courts &amp; Co., that he did not see the repurchase agreement or the invoice slip showing the repurchase or either of the letters under date of November 25, 1929, and January 3, 1930, set out in our findings; that he was the agent who had recommended the refund of $47.92; and that he was given everything that he had asked to see while there.  Petitioner testified that he went to Courts &amp; Co. and probably told them that he wanted to sell the stock for a tax loss; that he would want to reestablish his position in it by rebuying into the company; that he had completely forgotten about the repurchase agreement until the matter was brought up by his attorney, who found it in his files; that he thought he had*893  consummated a regular sale of stock; that he thought the transaction he had entered into gave him a legal right to take a tax loss; and that he would not have taken it if he had not thought so.  Regarding Revenue Agent Rogers' visit, petitioner's testimony is in part as follows: A.  I remember he came in and questioned about the sale, yes.  Q.  Did you tell him you had repurchased that stock?  A.  I can't say whether I did today; if he had asked me that question, I would have told him, and if he did ask me, I did tell him.  Q.  Did you tell him you had entered into an agreement * * * to repurchase the stock * * *?  A.  I don't presume I did because it would have no effect on my mind at that time, it would have no bearing on the question he was asking me about.  I didn't know at that time what I know today since this matter has been brought up; the signing of the agreement does not [sic] prvent me from using it for a loss, and it didn't enter in my mind at that time that it was not a proper deductible item, nor had I the slightest idea that I had not a perfect right to buy the stock back, whether it was that or other stock, and the fact, if I may say - Q.  Go ahead.  *894  A.  I had thought everything was lawful, and if the Agent had any thought of it at the time, if he had thought there was anything wrong, he had the liberty to ask because I made it a practice that whenever they came in, and I think you will find they will say that my files and whatever I had were perfectly available to them; in fact, I frequently called Mr. Nabors, and I said, "If there is anything you don't understand, or any facts or figures that you need, *445  Mr. Nabors is available and everything I have got is at your disposal," I had only a desire to be sure I had my affairs in order.  * * * A.  I certainly thought it was proper and, therefore, I never did any more about it; there was certainly no effort at concealment.  We think this feature of the case narrows down to whether petitioner at the time he filed his 1929 return was aware of that provision of section 118 of the Revenue Act of 1928 denying a stock loss to one who within thirty days of the sale "has entered into a contract or option to acquire substantially identical property." If petitioner knew of this provision at the time he filed his return, we think he would be guilty of filing a false or fraudulent*895  return with intent to evade tax, for certainly at that time (March 15, 1930) he was well aware of the agreement to repurchase.  There is no evidence to show that petitioner knew of this particular provision of the law.  Therefore, his claiming the deduction appears to have been due to a mistake of law, with no apparent intent to evade tax.  Under such circumstances fraud can not be found.  On this issue the Commissioner has not sustained his burden of proof.  (3) The third alleged act of fraud is the one which caused the largest understatement of income.  Petitioner's erroneous determination, through his agents Maguire and Nabors, of his cost basis of the utility stocks caused petitioner's income for the taxable years involved in this proceeding to be understated in the total amount of $381,167.41.  This was a very serious and substantial understatement of income and merits the closest scrutiny.  We have in our findings of fact set out in considerable detail the exact manner in which Maguire for 1926 and Nabors for 1928, 1929, and 1930, acting for petitioner, arrived at the cost basis of the stock sold in those years.  Briefly, Maguire attempted to identify each of the 25 sales*896  in 1926 with certain purchases previously made.  In the final determination by the Commissioner only 2 sales could be identified and it was necessary to apply the first in, first out rule to 23 sales.  Maguire testified at the hearing as a witness for the respondent and the substance of his testimony was that at the time he prepared the schedule for petitioner's income tax return for 1926, showing the 25 sales of stock in question, he had never heard of the first in, first out rule, that he did his best to prepare the schedule correctly, and that he thought he had done so when he turned it over to Nabors to be used in the preparation of petitioner's income tax return for the year 1926.  We have no reason to doubt the truth of Maguire's testimony.  The testimony shows that both Nabors and petitioner relied upon the schedule which had been prepared by Maguire and believed that it was correct.  *446  Respondent's allegation that petitioner's income tax return for 1926 was false and fraudulent with intent to evade tax is therefore not sustained.  We make the same holding as to petitioner's income tax returns for the years 1928 and 1929.  However, the facts as to these two latter*897  years are not the same as for 1926.  Maguire had nothing to do with the preparation of the 1928 and 1929 returns.  These returns were prepared by Nabors and signed and sworn to by petitioner.  In their preparation Nabors took as the basis of cost of most of the utility stock sold in these years the highest cost utility stock owned by petitioner.  It was represented by a 5,000-share block of Southeastern voting trust certificates then up as collateral security with the Southeastern Securities Co. of New York City to secure the payment of two notes which petitioner owed the Securities Co. Nabors made no attempt to fix the cost basis of shares sold by the identification of the particular certificates sold or by the application of the first in, first out rule.  He testified that he never heard of the first in, first out rule until long after the returns in question were filed and that at the time he filed the 1928 and 1929 returns he thought petitioner had the right to deduct from the selling price of the stock sold the highest cost of an equivalent number of shares then owned by petitioner.  To the same effect is the testimnony of petitioner.  It is plain that he and Nabors talked over*898  this question of the cost basis to be used and came to the conclusion that petitioner had the right to use his highest cost stock.  In 1928 the cost of 1,400 of these 5,000 shares was used in determining the gain on the sale of 1,400 shares of Southeastern stock.  In 1929, 1,500 more of the shares were thus used.  Then came on June 10, 1929, the reorganization when shares of Southeastern were exchanged for shares of Commonwealth on the basis of 4 1/2 shares of Commonwealth and certain option warrants for 1 share of Southeastern.  At the time the reorganization came in 1929, according to the method which was being used by Nabors and concurred in by petitioner, the cost basis of 2,900 shares of the 5,000 share block had been used up, leaving 2,100 shares.  These 2,100 shares converted into Commonwealth shares represented 9,450 shares of the latter.  Of these 9,450 Commonwealth shares Nabors used up 5,500 in 1929 in figuring petitioner's cost basis of Commonwealth stock sold after the reorganization.  Of course, it can be readily seen that this method of using as a basis of cost of petitioner's stock sold in 1928 and 1929 the highest cost stock owned by petitioner without reference*899  to the identification of any particular certificates of shares sold was an erroneous method of figuring cost and resulted in large understatements of income.  We are not convinced, however, by the evidence that either Nabors or petitioner had any intention to deceive by the use of this method *447  in the years 1928 and 1929.  We therefore hold that the Commissioner's determination of fraud for 1928 and 1929 is not sustained.  The year 1930, we think, is different and a different result must be reached for that year.  Although petitioner had used up most of the cost basis of the 5,000-share block of Southeastern stock, including the shares of Commonwealth into which the remainder had been converted, in figuring his gains on sales of stock in 1928 and 1929, he set about in 1930 to use up this same cost basis of this block of stock, now converted into Commonwealth, all over again.  Our findings of fact show in full detail how this was done.  Both petitioner and Nabors, who prepared the 1930 return for petitioner, admitted in their testimony at the hearing that they knew they had no right to use the cost basis of the same block of stock twice; they admitted that by the use of*900  any reasonable degree of diligence they could have ascertained that most of the cost basis of the 5,000-share block had been used up in 1928 and 1929.  They gave no reasonable explanation as to why they used the cost basis of the same 5,000-share block of stock twice.  Nabors testified that he was unable to tell why or how he could have become so confused as to use the basis of this 5,000-share lot the second time.  He testified: "I, of course, knew that stock could only be sold once and yet even now, after three years or more that this investigation has been under way, I am unable to explain how I made that sort of a mistake." He also testified: "I can offer no explanation except that it was an error, unintentional, of course, not deliberately made." The substance of petitioner's explanation is that he relied upon the correctness of the computations made by Nabors and that it did not occur to him to question their accuracy.  In the light of all the facts in the record, we find ourselves unable to accept this explanation.  By the end of the year 1930 petitioner had deducted $524,588.40 as cost of utility stock sold from 1925 through 1930.  The entire amount of utility stock - Alabama, *901  Southeastern, and Commonwealth - which petitioner had purchased from 1920 through 1930 had cost him only $493,289.74.  Of this stock at the end of the year 1930 he still had on hand 81,257.5 shares of Commonwealth stock and 53,536.5 option warrants with a total cost basis of $302,831.25, figured on the basis of the first in, first out rule and by identification of shares wherever that is possible.  Yet notwithstanding that petitioner had already deducted in prior years and the year 1930 the entire cost basis of all his stock, he went right on using as his cost basis the cost of the 5,000-share block.  This was largely responsible for an understatement of his income for the year 1930 of $209,040.34.  Furthermore, this very pronounced overstatement of costs went right on through 1931.  While 1931 is not before us for redetermination of the *448  deficiency, the evidence as to that year is a part of the record of the instant case.  A summary of the cost of the utility stocks and option warrants deducted by petitioner on his returns for the years 1925 through 1931 shows that he deducted a total cost of $938,965.15.  The total cost which should have been deducted as now agreed upon*902  by the parties is $392,368.56.  We do not think petitioner can be guilty of such careless indifference to the basis of cost of shares of stock which he was selling and to a correct return and the oath to which he subscribed and now expect to be be absolved from the consequences of his acts.  It does not tax our credulity to believe that in the years 1928 and 1929 petitioner knew nothing about the first in, first out rule and believed that he had the right to use, as the cost basis of the stock which he sold, the cost basis of an equivalent number of the highest cost shares which he owned, but certainly petitioner knew that he could not use the same block of stock twice in figuring his cost basis of stock sold.  This he has done, and he gives no satisfactory explanation as to why he did it.  The Commissioner does not have to establish his determination of fraud "beyond a reasonable doubt." All that he is required to do is to make proof of his fraud charges by a preponderance of the evidence which is clear and convincing. . In the instant case he has proved clearly that in filing his income tax return for 1930 petitioner*903  used in large part all over again as his basis of cost for Commonwealth shares sold in that year the cost basis of shares which had been largely used up in the prior years of 1928 and 1929, he has proved that petitioner knew that he had no right to do this, and that the use of such unauthorized basis of cost was largely responsible for an understatement of income for 1930 of $209,040.34.  This, in the absence of any satisfactory explanation by petitioner, is convincing proof to us that petitioner's income tax return for 1930 was false and fraudulent with intent to evade tax.  Cf. ; ; ; Petitioner strongly relies upon the finding in his favor upon the issue of fraud for the taxable year 1931 by the District Court of the United States for the Middle District of Georgia in the case of William E. Mitchell v. W. E. Page, Jr., et al., decided March 30, 1938.  All of the evidence in that proceeding has been introduced by petitioner in this proceeding and we have carefully considered*904  it.  It is sufficient to say that we regard the proof which respondent has submitted on the issue of fraud for the year 1930 as considerably stronger than that which he submitted before the court in the 1931 *449  case.  Particularly is this true of petitioner's use in 1930 for the second time in determining the basis of cost of certain shares of Commonwealth sold in that year of the 5,000-share block of stock which we have already mentioned.  Respondent at the hearing in the instant case traced in great detail the use of this 5,000-share block of stock by petitioner in making his income tax returns for 1928, 1929, and 1930.  This respondent did by offering in evidence the work sheets used by Nabors in making up petitioner's income tax returns for the years 1928, 1929, and 1930.  No such evidence appears to have been before the court in the 1931 case.  Petitioner does not contend that the decision of the United States District Court for the Middle District of Georgia in the 1931 case is res judicata on the fraud issue involved in this proceeding.  He concedes that it is not.  For the reasons which we have stated above, we hold that petitioner's income tax return for 1930*905  was false and fraudulent with intent to evade tax, that the deficiency for that year is not barred by the statute of limitations, and that part of the deficiency is due to fraud with intent to evade tax and the 50 percent penalty added to the tax by the Commissioner is sustained.  The parties have stipulated that petitioner made 35 sales of Commonwealth stock in 1930, totaling in all 25,400 shares; that the correct amount realized from the sales of these shares was $293,925; that the correct cost was $11,740.97; and that the correct net gain was $285,188.03.  Ordinarily we would accept these figures as correct, without question, but there is in evidence petitioner's Exhibit No. 6, which is entitled "Complete Chronological Statement through 1930 of all transactions in stock of Alabama Traction Light and Power Company, Southeastern Power and Light Company, and Commonwealth and Southern Corporation." The Commissioner determined the deficiencies for the years in question upon the basis of this chronological statement.  The figures for 1930 and other years given in this chronological statement show that the Commissioner completely disregarded the rule of averaging costs which takes*906  place when there is a statutory reorganization and shares in an old corporation are exchanged for shares in the new corporation.  See ; affd., ; followed by the Board as recently as . The facts show that on June 10, 1929, petitioner exchanged 23,794 shares of Southeastern stock which he owned for 107,073 shares of stock and 53,536.5 option warrants in Commonwealth in a statutory reorganization.  Instead of allocating the entire cost basis of petitioner's shares in Southeastern between the common stock and option *450  warrants which he received in Commonwealth and then averaging the cost basis of each share of Commonwealth in accordance with the rule laid down by the Board in the Von Gunten case, the Commissioner continued to use the first in, first out rule against the old shares owned in Southeastern.  He appears to have used exactly the same method in computing petitioner's gain on the sales of Commonwealth in 1930 as he used in the Von Gunten case, which method we disapproved in that case.  For example, as we figure it, the 23,794 shares*907  in Southeastern which petitioner owned at the time of the reorganization on June 10, 1929, had a cost basis to him of $291,391.96.  We are not making a finding of fact to this effect because this computation is made by us after giving effect to the other reorganization which took place in 1924, when shares in Alabama were exchanged for shares in Southeastern, and would, of course, be subject to mathematical error, but the figures are all in the record, from which a correct computation can be made.  Whatever the correct figure is, it should be used in a recomputation under Rule 50.  Assuming that our figures of $291,391.96 as the cost basis of the 23,794 shares of Southeastern stock are correct, then, when these were exchanged for 107,073 shares of Commonwealth stock and 53,536.5 option warrants, petitioner thereafter had a cost basis of $2.2964 per share for his Commonwealth stock after allocating a part of the $291,391.96 cost basis to the option warrants.  As already stated, the Commissioner in determining the deficiency for 1930 used the first in, first out rule, applying it to the old shares in Southeastern without using the averaging rule laid down in the Von Gunten case. *908  This apparently, as applied to the year 1930, has resulted in a considerable overstatement of net income.  It should be corrected in a recomputation under Rule 50.  Apparently similar errors were made for the other taxable years in question, which, however, did not result in nearly so pronounced an overstatement in net income.  In fact petitioner's income for 1929 will be considerably more than the Commissioner has determined.  In view of the fact, however, that we have held that the statute of limitations bars any deficiencies for these other years, their correction becomes unimportant.  As we view it, this failure of the Commissioner to apply the rule laid down by the Board in the Von Gunten case does not in the slightest degree affect the issue of fraud.  Petitioner has not contended that he was endeavoring to apply the first in, first out rule or the rule of averaging prescribed by the Von Gunten case.  What he did do was to use as a basis of cost his highest cost stock, whether those particular shares were sold or not, and in 1930 he used again a cost basis of shares already used up in prior years.  The facts as to *451  this have already been fully discussed*909  and will not be repeated, since they have nothing to do with the first in, first out rule or the rule of averaging in the Von Gunten case.  We direct the recomputation of the deficiency for 1930 to be made in accordance with the Von Gunten case, however, because we are convinced that it will result in a considerably lower tax and penalty for 1930 and petitioner should not be required to pay any greater tax and penalty for 1930 than he owes.  Reviewed by the Board.  Decision will be entered under Rule 50.TURNER TURNER, concurring: While I concur in the conclusion reached and the thoughts expressed in the majority opinion, the picture presented by the record in this case prompts me to express some additional views.  The petitioner is an engineer and since May 1927 has been vice president and general manager of the Georgia Power Co., with offices located in Atlanta, Georgia.  He graduated in 1903 from the Massachusetts Institute of Technology, with a degree of Bachelor of Science in electrical engineering.  After serving two years with the General Electric Co. in Schenectady, New York, he was employed for six years in Brazil, returning to the United*910  States in 1911, at which time he procured a position as construction foreman with the General Electric Co. on the west coast.  Early in 1912 he was employed by the Alabama Power Co. as electrical engineer in connection with the development of the first major hydroelectric project in that state.  This project combined the development of navigation and water power.  By 1919 or 1920 he had advanced to the position of vice president in charge of operations, which position was held by him, except for a brief interlude of a few months during which time he returned to Brazil, until he was appointed to his present position.  By 1920 he was drawing a salary of approximately $18,000 a year and at or about that time he began the purchase of stock in the Alabama Traction Light &amp; Power Co., which in turn held the stock of the Alabama Power Co. and a number of other subsidiaries.  In or about 1924 the Alabama Traction Light &amp; Power Co. became a subsidiary of the Southeastern Power &amp; Light Co. and the petitioner continued the policy of making his principal investments in the stock of that company.  He had in mind the building up of a substantial estate, principally for the purpose of providing adequate*911  income for his wife and daughter in the event anything should happen to him.  During the period from 1920 through 1931, and possibly some subsequent *452  years, the petitioner carried out a program which included the purchase and sale of securities in substantial quantities.  The bulk of these securities were the stock of public utilities, as previously indicated.  Some of the shares sold were acquired not by purchase, but by way of stock dividends and split-ups.  During the years 1925, 1926, 1928, 1929, and 1930 the petitioner made 89 different sales covering 38,750 shares of public utility stocks.  From his testimony, and to some extent the testimony of other witnesses, it would appear that the petitioner is the type of man who maintains and exercises meticulous regard for proper personal conduct in all of his activities, civic as well as business, and who has a high sense of responsibility to his family, to his community, and to his government.  The distinct impression is made that he has consistently given particular care and attention to things done and to be done, and yet in the preparation and filing of his Federal income tax returns we find him completely out of character. *912  Year after year he filed erroneous returns, admittedly understating income in substantial amounts.  For the year 1925 he failed to report a profit of $14,075.50 from two sales of public utility stocks, and for 1926 he failed to report a profit of $1,702.50 from the sale of certain option warrants.  With respect to the sale of Southeastern and Commonwealth stocks, he understated his profit for the year 1926 in the amount of $70,182.53, for the year 1928 in the amount of $41,970.64, and for the year 1929 in the amount of $50,907.41, and for 1930 it is stipulated that the amount of the understatement was $209,040.34.  It appears also that for the year 1929 his net income was further understated in the amount of $69,120 by reason of his claiming a deduction to which he was not entitled.  The understatement of the profit from the sale of Southeastern and Commonwealth shares for the years 1926, 1928, and 1929 resulted from petitioner's failure to apply the so-called first in, first out rule in determining the basis of the shares sold.  He used as his basis the highest price which had been paid for such stock, regardless of the fact that the certificates delivered upon the said sales did*913  not evidence shares purchased at the highest price but evidenced shares purchased at prices not then determinable.  The erroneous deduction of $69,120 claimed in 1929 resulted from the fact that petitioner ignored the so-called "wash sales" provision of the statute and claimed a deductible loss on the sale of 2,000 shares of Atlantic Ice &amp; Coal Co. common stock sold on November 25, 1929, even though on December 12 of the same year he entered into an agreement with the purchaser to repurchase the said shares at the same price at which they had been sold.  As to the failure to report the profit from the *453  sales of the utilities stocks and option warrants in 1925 and 1926, the only explanation is that it must have been an oversight.  The understatement of profit from sales of Southeastern and Commonwealth shares in 1930, like the understatement of profit on similar sales in 1926, 1928, and 1929, resulted from the use of an erroneous basis, but unlike the errors in those years the understatement of such profit for 1930 resulted from the use of an amount as basis which petitioner now admits he knew he had no right to use.  His explanation is that he was negligent and careless, *914  but that he had no intent to evade tax.  It is the claim of the petitioner that he never heard of the first in, first out rule until the investigation was made which resulted in the determination of the deficiencies and penalties herein.  He claims that he was under the impression that he could use as the basis for determining the gain from the sale of any shares of stock the highest prices paid for such shares, regardless of the fact that the certificates used in making the transfer of the shares sold were not the certificates received at the time the highest-priced purchases were made.  With respect to the loss deduction claimed in respect of the Atlantic Ice &amp; Coal Co. stock, his explanation is that it was his belief that once he had sold the stock his right to deduct any loss sustained was established, regardless of the time of any repurchase agreement on his part.  To say the least, it is difficult to understand how a man of the type portrayed by this record could or would have failed to make some serious effort to have informed himself, or at least have required the person to whom he delegated the task of preparing his income tax schedules to familiarize himself with the*915  proper and established method of determining the basis and computing the gain or loss from the sales of securities, particularly where the purchases and sales in question and the gain realized therefrom were so substantial in amount both as to the number of transactions and the sums of money involved and occupied such an important place in petitioner's personal and financial program.  It is not so startling or surprising, however, that any person should have difficulty in understanding and applying the first in, first out rule.  Considered in the most charitable light, it is arbitrary and artificial.  It rests on the assumption that one share of stock in a particular corporation is identifiable or different from other shares of stock of the same class and ignores the fact that a share of stock is merely indicative of the undivided interest of the holder in the welfare of the corporation, and that the certificate is not a share in itself but merely evidences ownership of such undivided or pro rata interest, not in some particular asset or activity of the corporation, but in the corporation as a whole.  The application of the *454  rule has resulted in a mad scramble on the part*916  of taxpayers to ear-mark particular stock certificates and in case of sale to use certificates received at the time the highest-priced shares were acquired so as to report the minimum amount of gain or to obtain the maximum deduction in the case of loss.  The Government, on the other hand, if the early purchases were made at a lower figure, undertakes to show that the certificates used with respect to a particular sale were certificates evidencing unidentifiable shares and that the first in, first out rule should apply.  The natural consequence is that income is distorted year after year, in some instances at the expense of the Government and in other instances at the expense of the taxpayers, and the Bureau, the Board, and the courts are flooded with cases the majority of which would undoubtedly be eliminated to the eventual advantage of both the Government and the taxpayers if it were permissible to determine the basis of the shares sold by the apparent and logical method of averaging the unrecovered cost of all shares owned by the taxpayer immediately prior to a sale.  The regulation establishing the first in, first out rule is a regulation of long standing, however, and, since*917  its promulgation has been held to be reasonable under the statute, it has the force and effect of law and it is likely that action by Congress would be necessary to change it.  Furthermore, it is our duty to undertake the application of the law as it exists and not as it might or in our opinion should be.  While the petitioner's use of the highest-priced shares in his portfolio as the basis for computing gain is no more reasonable or logical than the application of the first in, first out rule, it is certainly no less so.  It does not appear of record that the instructions accompanying the income tax forms contained any information concerning the said rule, and, in the face of petitioner's insistence that he had no knowledge of it whatever, the record seems to fall short of a satisfactory showing of an intent to evade tax in reporting the gain on the transactions in question.  It is with greater difficulty that I am able to give full credence to the testimony with respect to the loss deduction claimed by reason of the sale of the Atlantic Ice &amp; Coal Co. stock.  The petitioner certainly was tax conscious, and the record clearly indicates that he would not have parted with the stock*918  except for the purpose of procuring a deduction against income and then only on the belief that he could reacquire such stock at no advance in price.  He had no intention or desire to finally and definitely part with his interest in the company.  He proposed a sale to Courts &amp; Co., but was able to close the transaction only upon the condition that he would save *455  them from loss.  This was followed some 17 days later by the admitted agreement to repurchase the shares at the selling price.  These facts are strongly persuasive that the agreement to repurchase was existent from the beginning but was not expressed until December 12.  The witnesses have testified, however, that the sale was an outright sale, and Courts &amp; Co. apparently made some effort to resell the stock to outside interests between November 25 and December 12, and, as to the agreement to indemnify Courts &amp; Co. against loss, there might have been some serious question as to its enforce-ability, the said agreement not being in writing.  These factors, supplemented by the claim of lack of knowledge of the statutory prohibition against the deduction of such losses where a repurchase agreement has been entered into*919  within 30 days after the sale, may be sufficient to justify the conclusion that the record does not sustain the charge of fraud, although it is very difficult to believe that the petitioner could or would have informed himself, as he obviously did, of that part of the statutory provision prohibiting the deduction of such losses if the property sold is actually repurchased within the period of 30 days after the sale and not have informed himself of the prohibition of the loss deduction where an agreement to repurchase is entered into within that period.  Petitioner's failure to make any report of the gain from certain sales of securities in 1925 and 1926 is equally difficult to understand.  He had no explanation except that it must have been an oversight, reiterating his claim that he had no intent to evade tax.  Compared with other items involved in this proceeding, the amounts were comparatively small and it may be, as counsel suggests, that the omission of the larger amount in 1925 was due to a mistake as to basis and confusion as to sales and purchases made at or about the same time.  With respect to the understatement of income for 1930, however, I am fully convinced from the*920  testimony of both petitioner and Nabors that petitioner's conduct goes far beyond carelessness or negligence and indicates an intent to evade tax within the meaning of the statute.  The amount of the understatement was substantially greater than the combined understatements for the preceding years.  Both Nabors and petitioner admit they knew they had no right to use as the basis for determining gain on the 1930 sales the cost of stock which had already been exhausted in reporting gain on prior sales, and yet they did just that.  I am unable to give credence to the claim or testimony that it resulted from an innocent mistake and agree fully with views expressed in the majority opinion.  *456 LEECH, dissenting: Fraud must be established by clear and convincing evidence.  . I agree with the majority that no such evidence exists here in petitioner's returns for 1925, 1926, 1928, and 1929.  I also find none in the return for 1930.  There may have been negligence in the filing of the returns for each of the years in question.  Certainly that was so in the return for 1930.  But negligence, alone, does not sustain a finding of*921  fraud.  ; ; ; . Petitioner was a church leader, prominent in the Boy Scout movement, relief work, and similar community activities.  He was a very busy executive and engineer.  His returns for 1930 and several prior years were prepared by a trusted employee, Nabors, in whose honesty and ability petitioner had absolute confidence, which clearly was not unjustified, though Nabors was not an accountant.  Petitioner did not examine the computations on any of the returns.  Respondent's agents investigated those for 1930 and for other years, and constructively approved them.  Nothing was concealed from these agents then or in their later investigation.  All of petitioner's data, supporting the returns, was made available to them.  See ;. Though there were omissions of three sales of securities for 1925 and 1926, every sale petitioner made in 1930 - and there were 35 - was reported in his return*922  for that year.  His receipts therefrom were all correctly reported except for a small overstatement. The error which resulted in the understatement of income upon which the deficiency for that year mainly arose and upon which the finding of fraud in this proceeding was made, was the use of the wrong basis for computing the gain petitioner realized on these sales.  It is now conceded that the proper basis was not used in that computation.  After seven months' investigation by respondent, the computation of gain on these sales and those for the earlier years involved, was completed.  But this computation exceeded the amount later stipulated as correct, by the amount of approximately $70,000.  A tax specialist in the employ of petitioner then spent several months on another computation of petitioner's income, for the several years here in review, which computation respondent accepted as correct, with only minor changes, after investigation, and determined the present deficiencies thereon.  The income thus computed is here stipulated as correct.  Those facts indicate the complexity of the necessary computation.  But that extreme complexity is even more graphically and startlingly*923  evidenced.  *457  Petitioner's income for each of the years here, as thus stipulated, is shown, upon the face of the record, to be incorrect and overstated in a large amount because of the use of an erroneous basis for the stock then sold.  The majority opinion admits the existence of this error and directs that it be corrected.  In the face of this condition, can it be doubted that the computation of the correct basis of the stock sold in each of these years, is a matter so technical and involved that an error, resulting in a large understatement or overstatement of income could be made honestly and without fraudulent intent?  Certainly the respondent had no intent to overstate petitioner's income for 1930, and yet, the basis used by his accountants after months of detailed work, with all the records before them, resulted in a computation of income in an amount of $70,000 in excess of the income finally stipulated.  And that figure, thus agreed upon, as I calculate it, is about $44,000 in excess of the correct income.  But the majority says that even this error by respondent "does not in the slightest degree affect the issue of fraud." This may be theoretically true*924  when the finding of fraud is limited to the narrow one of petitioner's use, for the second time, of a cost basis for the so-called 5,000-share lot.  But is it true, in fact - in view of the peculiar complexity of the calculation of basis for this stock?  I think not.  This record convinces me that when the return for 1930 was filed, neither petitioner nor Nabors knew they were using a cost basis that had already been exhausted.  The basis thus used was, indeed, wrong.  But, error in such a complicated computation - not even yet correctly made - is surely no basis here for a finding of fraud.  And the fact that this error actally resulted in the use of a cost basis already exhausted - in the picture presented - is, at least, far removed from "clear and convincing evidence" of fraud.  Petitioner and Nabors now admit that the use of such basis was a mistake, but they both categorically deny they knew they were making this mistake when the return was prepared and filed.  Nevertheless, the majority regards petitioner's explanation that this error was an unintentional mistake, as unsatisfactory.  They dismiss it with that brief comment.  In view of everything revealed in this record, *925  I think, it was amply sufficient to answer the imputation of fraud.  It is significant that the District Court of the Middle District of Georgia, in determining a similar issue for 1931, thought so too.  The petitioner had acquired these stocks in an effort to build an estate.  All of his 1930 sales were made to pay obligations.  In 1929, he was worth $3,000,000.  By 1930, the value of his net estate had shrunk to $100,000.  He was not a tax expert.  Under such circumstances, is it reasonable that he should have known he was in receipt of income during that year, *458  in an amount much larger than his total net estate?  Although the information from which the calculation was made, was always available to respondent, the same exhausted basis was used for the third and fourth times in his returns for 1931, 1932, and 1933.  In computing the gain on the sales of Commonwealth stock during those years, Nabors testified he had lost sight of the 5,000-share block and used such mistaken basis because, when he prepared the returns for those years, he had that figure firmly fixed in his mind at the cost, per share, of all the remaining Commonwealth stock.  A deficiency and fraud penalty*926  thereon were determined for 1931.  Petitioner paid both of them and sued in the District Court of the United States for the Middle District of Georgia, to recover part of the deficiency and all of the 50 percent penalty for alleged fraud.  Because of this consistent and continuous error of basis the understatement of income for that year was much greater even than that for 1930.  It is true more detailed evidence was presented in this proceeding.  Only the year 1931 was there involved, but the issue was the same as that upon which fraud has been found here - petitioner's use of a cost basis in computing gain on sales, which basis had been exhausted by prior sales.  The case was tried before the court, without a jury, and the court there had before it the fact that, in petitioner's return for 1931, in computing his gain on sales of Commonwealth stock during that year, the petitioner had used as a basis therefor a cost of stock which had already been used in computing gains on sales made before 1930.  It was not there noted, however, that the basis used even by the respondent in computing the contested income was wrong.  Yet the court, at the conclusion of the trial, said in part, and*927  included the same in its findings of fact: THE COURT.  I want to say, and I feel that it is only fair to Mr. Mitchell that I say it now; that is, any charge of fraud in the sense that is generally understood as being dishonest and for the purpose of evading the payment of taxes, as I understand it, is certainly not sustained in this case and I do not hesitate to actually and promptly find against that contention now.  If it means negligence there is room for argument probably that Mr. Mitchell, with his occupation and the many other duties in which he took part, might not have found time to go more thoroughly into the matter.  That need not be determined now; nor am I going into the question of the alleged Huntington Aircraft loss.  But I am announcing now that I am so thoroughly in sympathy with his feeling of outrage at being charged with fraud and dishonesty that I take pleasure in making this statement at this time and I will incorporate it in my findings.  I do not think the record here warrants any different conclusion as to the year 1930.  Footnotesa.  Exchange of Southeastern Power &amp; Light Co. common. ↩1. SEC. 118.  LOSS ON SALE OF STOCK OR SECURITIES.  In the case of any loss claimed to have been sustained in any sale or other disposition of shares of stock or securities where it appears that within thirty days before or after the date of such sale or other disposition the taxpayer has acquired (otherwise than by bequest or inheritance) or has entered into a contract or option to acquire substantially identical property and the property so acquired is held by the taxpayer for any period after such sale or other disposition, no deduction for the loss shall be allowed under section 23(e)(2) of this title; nor shall such deduction be allowed under section 23(f) unless the claim is made by a corporation, a dealer in stocks or securities, and with respect to a transaction made in the ordinary course of its business.  If such acquisition or the contract or option to acquire is to the extent of part only of substantially identical property, then only a proportionate part of the loss shall be disallowed. ↩